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                     IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                                 DIVISION OF ST. CROIX

 JANIS BROWNE, AS PERSONAL                            §    Case No.: 1:16-cv-00085-WAL-GWC
 REPRESENTATIVE FOR SHENIKA GORE,                     §
                                                      §
 AND                                                  §
                                                      §
 JEANEISHA MCFARLANE                                  §
            Plaintiffs,                               §    ACTION FOR DAMAGES
                                                      §
 v.                                                   §
                                                      §
 GENERAL MOTORS, LLC                                  §
                                                      §
                 Defendant.                           §   JURY TRIAL DEMANDED


GENERAL MOTORS LLC’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ NOTICE OF
         VIDEOTAPED DEPOSITION OF A CORPORATE DESIGNEE OF
                  DEFENDANT, GENERAL MOTORS, LLC

       General Motors LLC (“GM LLC”) makes the following responses and objections to

Plaintiffs’ Notice of Videotaped Deposition of a Corporate Designee of Defendant, General Motors

LLC.

                                   PRELIMINARY STATEMENT

       The vehicle involved in this case is a 2009 Chevrolet Aveo 4-door notchback sedan with

Vehicle Identification Number (“VIN”) KL1TD56E19B668691.In their complaint, Plaintiffs allege

that on January 1, 2015, Shenika Gore was the right front passenger and Plaintiff Jeaneisha

McFarlane was the left rear passenger in the 2009 Chevrolet Aveo when it crossed the center

line and struck a 2014 Jeep Grand Cherokee on Northside Road in Frederiksted, St. Croix.

Plaintiffs allege that the passenger front airbag did not deploy resulting in injuries that caused the

death of Shenika Gore and the driver seat failed resulting in injuries to Plaintiff Jeaneisha

McFarlane. GM LLC denies these allegations.

                                        VEHICLE SCOPES

       The 2009 Chevrolet Aveo 4-door notchback sedan is part of GM’s T-Car platform. The T-



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Car platform is composed of both 5-door hatchbacks and 4-door notchback sedans. These

vehicles are marketed in North America as Chevrolet Aveo, Chevrolet Aveo5 and Pontiac G3.

The 2009 Chevrolet Aveo VIN KL1TD56E19B668691 (“subject vehicle”) was manufactured on or

about May 12, 2009, at GM’s Bupyeong Plant in South Korea.

       The T-car program was designed and engineered by General Motors Daewoo Auto &

Technology (GMDAT) located in South Korea (GMDAT has since been renamed to GM Korea).

The program begins with the T200 vehicles, which were first introduced in the 2004 model year

in North America. The Aveo (hatchback and notchback) was changed in 2006 and designated as

the T210 vehicle program. Changes from the T200 vehicle program included a dual-stage airbag

system with an IEE OC automatic passenger suppression system.

       In the 2007 model year, a major re-design was made to the four-door notchback sedan

under the new program T250. The vehicle received an all-new sheet metal exterior and a roomier

interior for better occupant accommodation. In addition to a redesigned front structure, the T250

Aveo body structural changes included new front and rear side door inner structure and door

beams, as well as a reinforced B-Pillar, for improved side impact performance. Further, due to

new seat trim, the suppression calibration was changed, and the algorithm was modified from V3x

to V4x. The 2008 T-cars’ suppression calibration was modified from V4x to V8x.

       Similarly, a major re-design was made to the five-door hatchback under the new T255

program in the 2009 model year. The T250 Aveo notchback was replaced by a notchback

designated in the T255 vehicle program. The T255 had a different front structure than the T210,

and the Pontiac G3 was introduced in the US from the T255 vehicle program. The sensing system

supplier was changed to Autoliv. The sensing system includes an SDM-C located at the center

tunnel and two electronic front sensors that are mounted on the left and right headlight support

panel uppers. The change in sensing suppliers resulted in a different sensing algorithm, hardware,

software, and calibration than what was used in previous years. Additionally, an IEE OC

suppression system with different calibration and design was incorporated in 2009. The front seat

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structures were also modified for the 2009 model year.

       The Chevrolet Aveo was replaced by the Chevrolet Sonic for the 2012 MY.

                             PASSENGER FRONT AIRBAG SCOPE

       For Plaintiffs’ passenger front airbag non-deployment allegations, the scope of vehicles

with substantially similar passenger front airbags as the subject vehicle includes the vehicles

listed below:

           •    2009 – 2011 Chevrolet Aveo;
           •    2009 – 2010 Pontiac G3.

                                      FRONT SEAT SCOPE

        The driver and right front passenger seats in the 2009 Chevrolet Aveo are bucket seats,

and they are the assembly of several major sub-assemblies/components:

       The seat back, which consists of the back cushion and frame;
       The seat cushion, which consists of the bottom cushion and frame;
       The seat track, which provides fore and aft movement and anchorage of the seat to the
       vehicle;
       The seat adjuster, which controls the movement of the seat and can be either manual or
       power;
       The seat recliner, which allows the seat back to rotate relative to the seat bottom;
       The head restraint, which provides support for the head in a rear impact.
       Based on Plaintiffs’ allegations, the appropriate scope regarding the driver seat assembly

is the front bucket seats released for the vehicles listed below:

           •    2009 – 2011 Chevrolet Aveo;
           •    2009-2010 Pontiac G3.
       For the purposes of these discovery responses, the terms “seat structure”, “seat

assembly” and “seat system” shall refer to the above-mentioned components for the driver and

right front passenger seats of the subject vehicle.

                                      AREAS OF INQUIRY

AREA OF INQUIRY NO. 1: The experience and background of the deponent.


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RESPONSE TO AREA OF INQUIRY NO. 1: GM LLC will produce for deposition a witness who

will testify about his or her experience and background.

AREA OF INQUIRY NO. 2: All facts concerning the subject accident.

RESPONSE TO AREA OF INQUIRY NO. 2: GM LLC objects to this area of inquiry because it is

premature and seeks expert witness testimony.

AREA OF INQUIRY NO. 3: The corporate relationship between General Motors and Chevrolet.

RESPONSE TO AREA OF INQUIRY NO. 3: GM LLC objects to this area of inquiry because it

seeks testimony not relevant to any claim or defense in this case.

AREA OF INQUIRY NO. 4: Design, function, and testing of the occupant presence sensing
system in the subject vehicle.

RESPONSE TO AREA OF INQUIRY NO. 4: GM LLC will produce for deposition a witness who

is generally knowledgeable about the design, function and testing of the occupant presence

sensing system in the front passenger seat in the 2009 Chevrolet Aveo.

AREA OF INQUIRY NO. 5: Design, function, and testing of the Sensing Diagnostic Model in the
subject vehicle.

RESPONSE TO AREA OF INQUIRY NO. 5: GM LLC does not understand the term “Sensing

Diagnostic Model.” GM LLC will produce for deposition a witness who is generally knowledgeable

about the design, function and testing of the Sensing Diagnostic Module (“SDM”) in the 2009

Chevrolet Aveo.

AREA OF INQUIRY NO. 6: Design, function, and testing of the front passenger airbag system in
the subject vehicle.

RESPONSE TO AREA OF INQUIRY NO. 6: GM LLC will produce for deposition a witness who

is generally knowledgeable about the design, function and testing of the passenger front airbag

system in the 2009 Chevrolet Aveo.

AREA OF INQUIRY NO, 7: Any and all design and/or manufacturing changes to the occupant
presence sensing system in the Chevrolet Aveo in the past ten (10) years.

RESPONSE TO AREA OF INQUIRY NO. 7:                   GM LLC does not understand the term

“manufacturing change.” GM LLC will produce for deposition a witness who is generally

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knowledgeable about design changes to the occupant presence sensing system in the front

passenger seat in the vehicles identified in the Passenger Front Airbag Scope.

        GM LLC otherwise objects to this area of inquiry because it is overly broad, not properly

limited in time or vehicle scope, and seeks testimony not relevant to any claim or defense in this

case.

AREA OF INQUIRY NO. 8: Any and all design and/or manufacturing changes to the front
passenger airbag system in the Chevrolet Aveo in the past ten (10) years.

RESPONSE TO AREA OF INQUIRY NO. 8:                    GM LLC does not understand the term

“manufacturing change.” GM LLC will produce for deposition a witness who is generally

knowledgeable about design changes to the passenger front airbag system in the vehicles

identified in the Passenger Front Airbag Scope.

        GM LLC otherwise objects to this area of inquiry because it is overly broad, not properly

limited in time or vehicle scope, and seeks testimony not relevant to any claim or defense in this

case.

AREA OF INQUIRY NO. 9: The design and function of the front and rear seat anchorages in the
subject vehicle.

RESPONSE TO AREA OF INQUIRY NO. 9: GM LLC will produce for deposition a witness who

is generally knowledgeable about the design and function of the front seat anchorages in the 2009

Chevrolet Aveo.

        Plaintiffs have not alleged any defect in the rear seat anchorages in the 2009 Chevrolet

Aveo. GM LLC therefore objects to this area of inquiry, as it relates to the rear seat anchorages,

because it is overly broad and seeks testimony not relevant to any claim or defense in this case.

AREA OF INQUIRY NO. 10: The testing of the front and rear seat anchorages in the subject
vehicle, including but not limited to those contained at Bates Browne000000486-559.

RESPONSE TO AREA OF INQUIRY NO. 10: GM LLC will produce for deposition a witness who

is generally knowledgeable about the testing of the front seat anchorages in the 2009 Chevrolet

Aveo.


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       The documents contained at Bates Range BROWNE000000486- BROWNE000000559

relate to the testing of the rear seat anchorages conducted in connection with GM LLC’s FMVSS

207 compliance testing. Plaintiffs have not alleged any defect in the rear seat anchorages in the

2009 Chevrolet Aveo. GM LLC therefore objects to this area of inquiry, as it relates to the rear

seat anchorages, because it is overly broad and seeks testimony not relevant to any claim or

defense in this case.

AREA OF INQUIRY NO. 11: The testing of the seat moment testing, including but not limited to
those contained at Bates Browne000000563-630.

RESPONSE TO AREA OF INQUIRY NO. 11: The documents contained at Bates Range

BROWNE000000563- BROWNE000000630 relate to the testing of the rear seat conducted in

connection with GM LLC’s FMVSS 207 compliance testing. Plaintiffs have not alleged any defect

in the rear seat in the 2009 Chevrolet Aveo. GM LLC therefore objects to this area of inquiry

because it seeks testimony not relevant to any claim or defense in this case.

AREA OF INQUIRY NO. 12: The design and function of the front and rear seat belt anchorages
in the subject vehicle.

RESPONSE TO AREA OF INQUIRY NO. 12: Plaintiffs have stipulated that Jeaneisha McFarlane

was not wearing her seat belt at the time of the accident. GM LLC has stipulated that Shenika

Gore was wearing her seat belt at the time of the accident. In addition, Plaintiffs have not alleged

any defect in the front or rear seat belt anchorages in the 2009 Chevrolet Aveo. GM LLC objects

to this area of inquiry because it is overly broad and seeks testimony not relevant to any claim or

defense in this case.

AREA OF INQUIRY NO. 13: The testing of the front and rear seat belt anchorages in the subject
vehicle, including but not limited to those contained at Bates Browne000000631-757 and
Browne000001475-2135.

RESPONSE TO AREA OF INQUIRY NO. 13: Plaintiffs have stipulated that Jeaneisha McFarlane

was not wearing her seat belt at the time of the accident. GM LLC has stipulated that Shenika

Gore was wearing her seat belt at the time of the accident. In addition, the documents contained

at Bates Range BROWNE000000631- BROWNE000000757 relate to the testing of the front and

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rear seat belt anchorages conducted in connection with GM LLC’s FMVSS 207 compliance

testing. The documents contained at Bates Range BROWNE000001475- BROWNE0000002153

relate to the testing of the front and rear seat belt anchorages conducted in connection with GM

LLC’s FMVSS 210 compliance testing. Plaintiffs have not alleged any defect in the front or rear

seat belt anchorages in the 2009 Chevrolet Aveo. GM LLC therefore objects to this area of inquiry

because it is overly broad and seeks testimony not relevant to any claim or defense in this case.

AREA OF INQUIRY NO. 14: Seat rearward moment testing for the subject vehicle, including but
not limited to those contained at Bates Browne000000758-813.

RESPONSE TO AREA OF INQUIRY NO. 14:                  The documents contained at Bates Range

BROWNE00000758- BROWNE0000000813 relate to the seat moment tests conducted in

connection with GM LLC’s FMVSS 207 compliance testing. GM LLC will produce for deposition a

witness who is generally knowledgeable about the front seat moment testing of the 2009

Chevrolet Aveo.

       Plaintiffs have not alleged any defect in the rear seat in the 2009 Chevrolet Aveo. GM LLC

therefore objects to this area of inquiry, as it relates to the rear seat, because it is overly broad

and seeks testimony not relevant to any claim or defense in this case.

AREA OF INQUIRY NO. 15: The design and function of the front and rear seat restraining
devices in the subject vehicle.

RESPONSE TO AREA OF INQUIRY NO. 15: GM LLC will produce for deposition a witness who

is generally knowledgeable about the design and function of the front seat restraining devices in

the 2009 Chevrolet Aveo.

       Plaintiffs have not alleged any defect in the rear seat restraining devices in the 2009

Chevrolet Aveo. GM LLC therefore objects to this area of inquiry, as it relates to the rear seat

restraining devices, because it is overly broad and seeks testimony not relevant to any claim or

defense in this case.

AREA OF INQUIRY NO. 16: The testing of the front and rear seat restraining devices in the
subject vehicle, including but not limited to those contained at Bates Browne000000814-875, and
Browne000002142-2153.

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RESPONSE TO AREA OF INQUIRY NO. 16:                 The documents contained at Bates Range

BROWNE00000814- BROWNE0000000875 and BROWNE00002142- BROWNE0000002153

relate to the seat restraining device test conducted in connection with GM LLC’s FMVSS 207

compliance testing. GM LLC will produce for deposition a witness who is generally knowledgeable

about the testing of the front seat restraining device in the 2009 Chevrolet Aveo.

        Plaintiffs have not alleged any defect in the rear seat restraining device in the 2009

Chevrolet Aveo. GM LLC therefore objects to this area of inquiry, as it relates to the rear seat

restraining devices, because it is overly broad and seeks testimony not relevant to any claim or

defense in this case.

AREA OF INQUIRY NO. 17: The testing of the seat belt anchorages, including but not limited to
those contained at Bates Browne000000876-1278.

RESPONSE TO AREA OF INQUIRY NO. 17:                 The documents contained at Bates Range

BROWNE000000876- BROWNE000001278 relate to the testing of the seat belt anchorages

conducted in connection with GM LLC’s FMVSS 207 compliance testing. Plaintiffs have not

alleged any defect in the seat belt anchorages in the 2009 Chevrolet Aveo. GM LLC objects to

this request because it is overly broad and seeks testimony not relevant to any claim or defense

in this case.

AREA OF INQUIRY NO. 18: All produced GM Evaluation Reports pertaining to the subject
vehicle.

RESPONSE TO AREA OF INQUIRY NO. 18: GM LLC will produce for deposition a witness who

is generally knowledgeable about the produced GM Evaluation Reports related to testing of the

front seats in the 2009 Chevrolet Aveo. GM LLC will also produce for deposition a witness who is

generally knowledgeable about the produced GM Evaluation Reports related to testing of the

passenger front airbag and occupant presence sensing system in the front passenger seat in the

2009 Chevrolet Aveo.




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       GM LLC otherwise objects to this area of inquiry because it is overly broad, unduly

burdensome and seeks testimony not relevant to any claim or defense in this case.

AREA OF INQUIRY NO. 19: All produced Test Reports pertaining to the subject vehicle.

RESPONSE TO AREA OF INQUIRY NO. 19: GM LLC will produce for deposition a witness who

is generally knowledgeable about the produced Test Reports related to the testing of the front

seats in the 2009 Chevrolet Aveo. GM LLC will also produce for deposition a witness who is

generally knowledgeable about the produced Test Reports related to the testing of the passenger

front airbag and occupant presence sensing system in the front passenger seat in the 2009

Chevrolet Aveo.

       GM LLC otherwise objects to this area of inquiry because it is overly broad, unduly

burdensome and seeks testimony not relevant to any claim or defense in this case.

AREA OF INQUIRY NO. 20: Engineering Judgment Letters regarding compliance with specified
standards for the subject vehicle.

RESPONSE TO AREA OF INQUIRY NO. 20: GM LLC will produce for deposition a witness who

is generally knowledgeable about the Engineering Judgment Letters regarding FMVSS 201 and

FMVSS 207 compliance applicable to the 2009 Chevrolet Aveo. GM LLC will also produce for

deposition a witness who is generally knowledgeable about the Engineering Judgment Letters

regarding FMVSS 208 compliance applicable to the 2009 Chevrolet Aveo.

       GM LLC otherwise objects to this area of inquiry because it is overly broad, unduly

burdensome and seeks testimony not relevant to any claim or defense in this case.

AREA OF INQUIRY NO. 21: NAO Procedure Development/Validation for occupant protection.

RESPONSE TO AREA OF INQUIRY NO. 21: To the extent that Plaintiffs’ area of inquiry relates

to the document produced at Bates Range BROWNE000002156- BROWNE000002161, GM LLC

will produce for deposition a witness who is generally knowledgeable about GMN0052TP

Occupant Protection – Seat Back Impacts.




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       GM LLC otherwise objects to this area of inquiry to the extent it is vague, overly broad,

not limited in time or vehicle scope, and seeks testimony not relevant to any claim or defense in

this case.

AREA OF INQUIRY NO. 22: GM Worldwide Engineering Standards Test Procedures, including
but not limited to the GM Worldwide Engineering standards produced at Bates
Browne000002171-2342 and Browne000002374-2579.

RESPONSE TO AREA OF INQUIRY NO. 22: GM LLC will produce for deposition a witness who

is generally knowledgeable about GM Worldwide Engineering Standards Test Procedures

applicable to the testing of the front seats in the 2009 Chevrolet Aveo. GM LLC will also produce

for deposition a witness who is generally knowledgeable about GM Worldwide Engineering

Standards Test Procedures applicable to the testing of the passenger front airbag and occupant

presence sensing system in the front passenger seat in the 2009 Chevrolet Aveo.

        GM LLC otherwise objects to this area of inquiry because it is overly broad, unduly

burdensome, not limited in time or vehicle scope, and seeks testimony not relevant to any claim

or defense in this case.

AREA OF INQUIRY NO. 23: General Motor’s Product Program Content.

RESPONSE TO AREA OF INQUIRY NO. 23: GM LLC will produce for deposition a witness who

is generally knowledgeable about the portions of General Motor’s Product Program Content

applicable to the front seats in the 2009 Chevrolet Aveo. GM LLC will also produce for deposition

a witness who is generally knowledgeable about the portions of General Motor’s Product Program

Content applicable to the passenger front airbag and occupant presence sensing system in the

front passenger seat in the 2009 Chevrolet Aveo.

       GM LLC otherwise objects to this area of inquiry because it is overly broad, unduly

burdensome, not limited in time or vehicle scope, and seeks testimony not relevant to any claim

or defense in this case.

AREA OF INQUIRY NO. 24: Any and all Final Reports to the Performance Assessment
Committee (PAC), including any and all PAC Report Supplements for the 2007 T-Car/Chevrolet
Aveo.

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RESPONSE TO AREA OF INQUIRY NO. 24: GM LLC will produce for deposition a witness who

is generally knowledgeable about the portions of the Final Reports to the Performance

Assessment Committee (“PAC”) applicable to the front seats in the 2009 Chevrolet Aveo. GM

LLC will also produce for deposition a witness who is generally knowledgeable about the portions

of the Final Reports to the Performance Assessment Committee (“PAC”) applicable to the

passenger front airbag and occupant presence sensing system in the front passenger seat in the

2009 Chevrolet Aveo.

       GM LLC otherwise objects to this area of inquiry because it is overly broad, unduly

burdensome, not limited in vehicle scope, and seeks testimony not relevant to any claim or

defense in this case.

AREA OF INQUIRY NO. 25: Any and all Final Reports to the Performance Assessment
Committee (PAC), including any and all PAC Report Supplements for the 2009 T-Car/Chevrolet
Aveo.

RESPONSE TO AREA OF INQUIRY NO. 25: GM LLC will produce for deposition a witness who

is generally knowledgeable about the Final Reports to the Performance Assessment Committee

(“PAC”) applicable to the front seats in the 2009 Chevrolet Aveo. GM LLC will produce for

deposition a witness who is generally knowledgeable about the Final Reports to the Performance

Assessment Committee (“PAC”) applicable to the passenger front airbag and occupant presence

sensing system in the front passenger seat in the 2009 Chevrolet Aveo.

AREA OF INQUIRY NO. 26: The 2009 T-Car/Chevrolet AVEO Passenger Sensing System (IEE
OC System) Final Performance Peer Review.

RESPONSE TO AREA OF INQUIRY NO. 26: GM LLC will produce for deposition a witness who

is generally knowledgeable about the 2009 T-Car/Chevrolet AVEO Passenger Sensing System

(IEE OC System) Final Performance Peer Review.

AREA OF INQUIRY NO. 27: All applicable FMVSS standards.

RESPONSE TO AREA OF INQUIRY NO. 27: GM LLC will produce for deposition a witness who

is generally knowledgeable about FMVSS 201 and FMVSS 207 standards applicable to the 2009

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Chevrolet Aveo. GM LLC will also produce for deposition a witness who is generally

knowledgeable about FMVSS 208 standards applicable to the 2009 Chevrolet Aveo.

       GM LLC otherwise objects to this area of inquiry because it is overly broad, unduly

burdensome, not limited in time or vehicle scope, and seeks testimony not relevant to any claim

or defense in this case.

AREA OF INQUIRY NO. 28: GMUTS Procedure Development/Validation pertaining to the
subject vehicle for the safety belts, passive restraints, and/or supplemental inflatable restraints
(air bags).

RESPONSE TO AREA OF INQUIRY NO. 28: GM LLC will produce for deposition a witness who

is generally knowledgeable about General Motors Test Procedures applicable to the testing of

the front seats in the 2009 Chevrolet Aveo. GM LLC will also produce for deposition a witness

who is generally knowledgeable about General Motors Test Procedures applicable to the testing

of the passenger front airbag and occupant presence sensing system in the front passenger seat

in the 2009 Chevrolet Aveo.

       Plaintiffs have not alleged any defect in the seat belts in the 2009 Chevrolet Aveo. GM

LLC therefore objects to this area of inquiry, as it relates to seat belts, because it is overly broad

and seeks testimony not relevant to any claim or defense in this case. GM LLC further objects to

this request because it is not limited in time or vehicle scope.



                                                              Respectfully submitted,

Dated: July 17, 2019                                                  /s/ Paul Neil
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                                                             Attorneys for General Motors, LLC



                                  CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served via ECF filing on this 17th day of
July 2019 upon the following:

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                                                             /s/ Paul Neil                   _




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